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      UNITED STATES OF AMERICA
11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA,               No. CR 24-621(A)-MWF-1
14
                 Plaintiff,                   STIPULATION AND JOINT REQUEST FOR
15                                            A PROTECTIVE ORDER REGARDING
                 v.                           DISCOVERY CONTAINING PERSONAL
16                                            IDENTIFYING INFORMATION, MEDICAL
      KAVON LONDON GRANT,                     INFORMATION, PRIVACY ACT
17                                            INFORMATION, AND PROTECTED WITNESS
                 Defendant.                   MATERIALS
18
                                              PROPOSED ORDER FILED SEPARATELY
19
20

21

22          Plaintiff, United States of America, by and through its counsel
23    of record, the United States Attorney for the Central District of
24    California and Assistant United States Attorneys Ian V. Yanniello,
25    Gregory W. Staples, and Daniel H. Weiner, and defendant KAVON LONDON
26    GRANT (“defendant”), by and through his counsel of record Peter C.
27    Swarth (collectively the “parties”), for the reasons set forth
28    below, request that the Court enter the proposed protective order
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 1    (the “Protective Order”) governing the use and dissemination of

 2    (1) personal identifying information (“PII”) of real persons

 3    pursuant to Federal Rule of Criminal Procedure Rule 16(d)(1),

 4    (2) medical or health information, (3) material that may contain

 5    information within the scope of the Privacy Act, and (4) information

 6    related to protected witnesses who may testify at trial.

 7          Introduction and Grounds for Protective Order

 8          1.    The government represents that based on its understanding

 9    of the discovery in this case, a protective order is necessary in

10    this case.       The government incorporates the allegations of the First

11    Superseding Indictment into its representation that the discovery

12    requires a protective order in this case. 1

13          2.    Based on the allegations in the First Superseding

14    Indictment and the government’s understanding of discovery in this

15    case, the government alleges that there are significant safety

16    concerns regarding disclosure of names and personal identifying

17    information of victims, witnesses, and defendants themselves in this

18    matter.

19          3.    Discovery in this matter contains the following types of

20    information:

21                a.      Digital devices searched by warrant or consent.           In

22    many cases, defendants will receive digital data from devices that

23    did not belong to them.       To protect the privacy of the owners of the

24    digital devices, including witnesses, the digital devices or digital

25

26
           1 Signature by defense counsel on this stipulation does not
27    imply any admission of the truth of any of the allegations in the
      First Superseding Indictment; defendant does not waive any challenge
28    to any of these allegations in any way by this stipulation.

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 1    data should not be provided to defendants other than for review in

 2    the presence of a member of the Defense Team.

 3                b.   Autopsy related documents, including medical records

 4    and graphic photographs, including of violent crime victims.                 The

 5    medical information at issue may also be subject to various federal

 6    laws protecting the privacy of medical records, including provisions

 7    of the Privacy Act, 5 U.S.C. § 552a; provisions of 45 C.F.R.

 8    §§ 164.102-164.534; and/or provisions of 42 U.S.C. § 1306.                 To

 9    protect the privacy interests implicated by these photographs and

10    medical records, these should not be provided to defendants other

11    than for review in the presence of a member of the Defense Team.

12                c.   Audio/video recordings, written summaries of

13    statements, and transcripts of statements made by witnesses to and

14    victims of violent events including murder.              Such documents and

15    recordings often contain the personal identifying information of

16    protected witnesses, and the unrestricted release of such items

17    would endanger the safety of those individuals.

18                d.   Audio/video recordings, written summaries of

19    statements, and transcripts of any statements made by defendants to

20    law enforcement.        Such documents and recordings will reveal which,

21    if any, defendants have spoken to law enforcement at any time, and

22    will endanger those defendants’ safety.

23                e.   Surveillance videos of violent events including

24    murder and law enforcement reports about such events.                To protect

25    the legitimate privacy interests of the victims, and prevent the use

26    of such items for intimidation purposes, these should not be

27    provided to defendants other than for review in the presence of a

28    member of the Defense Team.

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 1          4.    To ensure that information concerning victims, witnesses,

 2    and defendants is not disseminated or used by persons who might wish

 3    to intimidate or harm victims, witnesses, or defendants, and also to

 4    do so in a manner that ensures defendants’ rights to prepare an

 5    effective defense, the parties respectfully request entry of a

 6    protective order for discovery in this case.

 7          5.    Federal Rule of Criminal Procedure 16(d)(1) provides that

 8    “[a]t any time the court may, for good cause, deny, restrict, or

 9    defer discovery or inspection, or grant other appropriate relief.”

10          6.    A protective order is appropriate where there is reason to

11    believe that a witness would be subject to physical or economic harm

12    if his identity is revealed.          See Fed. R. Crim. P. 16 advisory

13    committee’s notes to 1974 amendments.

14          7.    In determining whether a protective order is appropriate,

15    courts consider such factors as the safety of witnesses and others

16    and the danger of witness intimidation.            See Fed. R. Crim. P. 16

17    advisory committee’s notes to 1966 amendments.

18          8.    The government asserts that the record demonstrates good

19    cause to permit the Court to exercise its discretion to restrict

20    discovery and inspection of information concerning victims,

21    witnesses, and defendants in this case, as further described below,

22    and to grant such relief as is necessary to ensure the

23    confidentiality of that information.

24          9.    A protective order is also necessary because the

25    government intends to produce to the defense materials containing

26    third parties’ PII.      The government believes that disclosure of this

27    information without limitation risks the privacy and security of the

28    information’s legitimate owners.          Because the government has an

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 1    ongoing obligation to protect third parties’ PII, the government

 2    cannot produce to defendants an unredacted set of discovery

 3    containing this information without the Court entering the

 4    Protective Order.       Moreover, PII makes up a significant part of the

 5    discovery in this case and such information itself, in many

 6    instances, has evidentiary value.            If the government were to attempt

 7    to redact all this information in strict compliance with Federal

 8    Rule of Criminal Procedure 49.1, the Central District of

 9    California’s Local Rules regarding redaction, and the Privacy Policy

10    of the United States Judicial Conference, the defense would receive

11    a set of discovery that would be highly confusing and difficult to

12    understand, and it would be challenging for defense counsel to

13    adequately evaluate the case, provide advice to defendant, or

14    prepare for trial.

15          10.   An order is also necessary because the government intends

16    to produce to the defense materials that may contain information

17    within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

18    Information”).      To the extent that these materials contain Privacy

19    Act Information, an order is necessary to authorize disclosure

20    pursuant to 5 U.S.C. § 552a(b)(11).

21          11.   The purpose of the Protective Order is to (a) allow the

22    government to comply with its discovery obligations while protecting

23    this sensitive information from unauthorized dissemination, and

24    (b) provide the defense with sufficient information to adequately

25    represent defendant.

26          Definitions

27          12.   The parties agree to the following definitions:

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 1                a.   “Protected Witness Materials” includes any

 2    information relating to any protected witness’s prior history of

 3    assistance with law enforcement, prior criminal history, statements,

 4    or any other information that could be used to identify a protected

 5    witness, such as a name, image, address, date of birth, or unique

 6    personal identification number, such as a Social Security number,

 7    driver’s license number, account number, or telephone number, or

 8    discovery containing statements made by defendants to law

 9    enforcement that were audio and/or video recorded, summarized in

10    reports or affidavits, and/or contained in transcripts.

11                b.   “PII Materials” includes any information that can be

12    used to identify a person, including a name, address, date of birth,

13    Social Security number, driver’s license number, telephone number,

14    account number, email address, or personal identification number.

15                c.     “Medical Materials” includes any individually

16    identifiable health information that is connected to a patient’s

17    name, address, or other identifying number, such as a Social

18    Security number.

19                d.   “Confidential Information” refers to any document or

20    information containing Protected Witness Materials, PII Materials,

21    or Medical Materials that the government produces to the defense

22    pursuant to this Protective Order and any copies thereof.

23                e.   “Defense Team” includes (1) defendant’s counsel of

24    record (“defense counsel”); (2) other attorneys at defense counsel’s

25    law firm who may be consulted regarding case strategy in this case;

26    (3) defense investigators who are assisting defense counsel with

27    this case; (4) retained experts or potential experts; and

28    (5) paralegals, legal assistants, and other support staff to defense

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 1    counsel who are providing assistance on this case.             The Defense Team

 2    does not include defendants, defendant’s family members, or any

 3    other associates of defendants.

 4          Terms of the Protective Order

 5          13.    The parties jointly request the Court enter the Protective

 6    Order, which will permit the government to produce Confidential

 7    Information in a manner that preserves the privacy and security of

 8    third parties.     The parties agree that the following conditions in

 9    the Protective Order will serve these interests:

10                 a.   The government is authorized to provide defense

11    counsel with Confidential Information marked with the following

12    legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

13    ORDER.”     The government may put that legend on the digital medium

14    (such as DVD or hard drive) or simply label a digital folder on the

15    digital medium to cover the content of that digital folder.               The

16    government may also redact any PII contained in the production of

17    Confidential Information.

18                 b.   If defendant objects to a designation that material

19    contains Confidential Information, the parties shall meet and

20    confer.     If the parties cannot reach an agreement regarding

21    defendant’s objection, defendant may apply to the Court to have the

22    designation removed.

23                 c.   Defendant and the Defense Team agree to use the

24    Confidential Information solely to prepare for any pretrial motions,

25    plea negotiations, trial, and sentencing hearing in this case, as

26    well as any appellate and post-conviction proceedings related to

27    this case.

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 1                d.   The Defense Team shall not permit anyone other than

 2    the Defense Team to have possession of Confidential Information,

 3    including defendant, while outside the presence of the Defense Team.

 4                e.   Notwithstanding the paragraph above, defendant may

 5    see and review Protected Witness Materials only in the presence of

 6    defense counsel or a designated person (as defined below), and

 7    defense counsel shall ensure that defendant is never left alone with

 8    any Protected Witness Materials.        At the conclusion of any meeting

 9    with defendant at which defendant is permitted to view Protected

10    Witness Materials, defendant must return any Protected Witness

11    Materials to defense counsel, who shall take all such materials with

12    counsel.    Defendant may not take any Protected Witness Materials out

13    of the room in which defendant is meeting with defense counsel.                At

14    no time, under no circumstance, will any Confidential Information be

15    left in the possession, custody, or control of defendant, regardless

16    of defendant’s custody status.        If defense counsel wishes to enable

17    defendant to review Protected Witness Materials in the presence of

18    any person on the Defense Team other than defense counsel, defense

19    counsel shall submit a letter to government counsel of record

20    identifying that person (the “designated person”), and shall submit

21    a copy of this stipulation that has been signed by that designated

22    person.    Upon receipt of those materials, if the government, in its

23    sole discretion, finds the designated person acceptable, prior to

24    the designated person reviewing any Protected Witness Materials with

25    defendant, government counsel of record will confirm in writing that

26    defendant is additionally allowed to review Protected Witness

27    Information in the presence of the designated person.

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 1                f.   Defendant may review other Confidential Information

 2    (i.e., Confidential Information that is not Protected Witness

 3    Material) only in the presence of a member of the Defense Team, who

 4    shall ensure that defendant is never left alone with such materials.

 5    At the conclusion of any meeting with defendant at which defendant

 6    is permitted to view such materials, defendant must return such

 7    materials to the Defense Team, and the member of the Defense Team

 8    present shall take all such materials with him or her.              Defendant

 9    may not take any such materials out of the room in which defendant

10    is meeting with the Defense Team.

11                g.   Defendant may see and review Confidential Information

12    as permitted by this Protective Order, but defendant may not copy,

13    keep, maintain, or otherwise possess any Confidential Information in

14    this case at any time.      Defendant also may not write down or

15    memorialize any data or information contained in the Confidential

16    Information.

17                h.   The Defense Team may review Confidential Information

18    with a witness or potential witness in this case, including

19    defendant.    Defense counsel must be present whenever any Protected

20    Witness Materials are being shown to a witness or potential witness.

21    A member of the Defense Team must be present if other Confidential

22    Information (i.e., Confidential Information that is not Protected

23    Witness Material) is being shown to a witness or potential witness.

24    Before being shown any portion of Confidential Information, however,

25    any witness or potential witness must be informed of, and agree in

26    writing to be bound by, the requirements of the Protective Order.

27    No member of the Defense Team shall permit a witness or potential

28    witness to retain Confidential Information.

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 1              i.   The Defense Team shall maintain Confidential

 2   Information safely and securely, and shall exercise reasonable care

 3   in ensuring the confidentiality of those materials by (1) not

 4   permitting anyone other than members of the Defense Team, defendant,

 5   witnesses, and potential witnesses, as restricted above, to see

 6   Confidential Information; (2) not divulging to anyone other than

 7   members of the Defense Team, defendant, witnesses, and potential

 8   witnesses, the contents of Confidential Information; and (3) not

 9   permitting Confidential Information to be outside the Defense Team’s

10   offices, homes, vehicles, or personal presence.         Protected Witness

11   Materials shall not be left unattended in any vehicle.

12              j.   To the extent that the Defense Team create notes that

13   contain, in whole or in part, Confidential Information, or to the

14   extent that copies are made for authorized use by members of the

15   Defense Team, such notes, copies, or reproductions become

16   Confidential Information subject to the Protective Order and must be

17   handled in accordance with the terms of the Protective Order.

18              k.   The Defense Team shall use Confidential Information

19   only for the litigation of this matter and for no other purpose.

20   Litigation of this matter includes any appeal filed by defendant and

21   any motion filed by defendant pursuant to 28 U.S.C. § 2255.           In the

22   event that a party needs to file Confidential Information with the

23   Court or divulge the contents of Confidential Information in court

24   filings, the filing should be made under seal.         If the Court rejects

25   the request to file such information under seal, the party seeking

26   to file such information publicly shall provide advance written

27   notice to the other party to afford such party an opportunity to

28   object or otherwise respond to such intention.         If the other party

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 1   does not object to the proposed filing, the party seeking to file

 2   such information shall redact any Protected Witness Materials, PII

 3   Materials, or Medical Materials, and make all reasonable attempts to

 4   limit the divulging of Protected Witness Materials, PII Materials,

 5   or Medical Materials.

 6              l.   The parties agree that any Confidential Information

 7   inadvertently produced in the course of discovery prior to entry of

 8   the Protective Order shall be subject to the terms of the Protective

 9   Order.   If Confidential Information was inadvertently produced prior

10   to entry of the Protective Order without being marked “CONFIDENTIAL

11   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

12   shall reproduce the material with the correct designation and notify

13   defense counsel of the error.      The Defense Team shall take immediate

14   steps to destroy the unmarked material, including any copies.

15              m.   The parties agree that if any Confidential

16   Information contains both Protected Witness Materials and another

17   category of Confidential Information, the information shall be

18   handled in accordance with the Protected Witness Materials

19   provisions of the Protective Order.

20              n.   Confidential Information shall not be used by the

21   defendant or Defense Team, in any way, in any other matter, absent

22   an order by this Court.     All materials designated subject to the

23   Protective Order maintained in the Defense Team’s files shall remain

24   subject to the Protective Order unless and until such order is

25   modified by this Court.     Within 30 days of the conclusion of

26   appellate and post-conviction proceedings, defense counsel shall

27   return Protected Witness Materials to the government or certify that

28   such materials have been destroyed.        Within 30 days of the

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 1   conclusion of appellate and post-conviction proceedings, defense

 2   counsel shall return all other Confidential Information, certify

 3   that such materials have been destroyed, or certify that such

 4   materials are being kept pursuant to the California Business and

 5   Professions Code and the California Rules of Professional Conduct.

 6              o.   In the event that there is a substitution of counsel

 7   prior to when such documents must be returned, new defense counsel

 8   must be informed of, and agree in writing to be bound by, the

 9   requirements of the Protective Order before the undersigned defense

10   counsel transfers any Confidential Information to the new defense

11   counsel.   New defense counsel’s written agreement to be bound by the

12   terms of the Protective Order must be returned to an Assistant U.S.

13   Attorney assigned to the case.      New defense counsel then will become

14   the Defense Team’s custodian of materials designated subject to the

15   Protective Order and shall then become responsible, upon the

16   conclusion of appellate and post-conviction proceedings, for

17   (1) returning to the government, certifying the destruction of, or

18   retaining pursuant to the California Business and Professions Code

19   and the California Rules of Professional Conduct all other

20   Confidential Information (i.e., Confidential Material that is not

21   Protected Witness Material); and (2) returning to the government or

22   certifying the destruction of all Protected Witness Materials.

23              p.   Defense counsel agrees to advise defendant and all

24   members of the Defense Team of their obligations under the

25   Protective Order and ensure their agreement to follow the Protective

26   Order, prior to providing defendant and members of the Defense Team

27   with access to any materials subject to the Protective Order.

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 1              q.   Defense Counsel has conferred with defendant

 2   regarding this stipulation and the proposed order thereon, and

 3   defendant agrees to the terms of the proposed order.

 4              r.   Accordingly, the parties have agreed to request that

 5   the Court enter a protective order in the form submitted herewith.

 6        IT IS SO STIPULATED.

 7        DATED: December 3, 2024            E. MARTIN ESTRADA
                                             United States Attorney
 8
                                             MACK E. JENKINS
 9
                                             Assistant United States Attorney
10                                           Chief, Criminal Division

11
                                             _/s/ _________________________
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                                             GREGORY W. STAPLES
13                                           DANIEL H. WEINER
14                                           Assistant United States Attorney

15                                           Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA
16

17
          DATED: December 3, 2024            _/s/ (via e-mail authorization)
18
                                             PETER C. SWARTH
19                                           Attorney for Defendant
                                             KAVON LONDON GRANT
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